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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Civil Action No.:

  LISA BUECHLER and
  MICHAEL MULLIGAN

  Plaintiffs,

  v.

  ALANA MARIE ORTIZ, TYRIE BROWN and
  QUIK TRAVEL STAFFING, INC.

  Defendants.

                                COMPLAINT AND JURY DEMAND


           Plaintiffs Lisa Buechler and Michael Mulligan, by and through Dennis W. Brown, attorney
  with the law offices of WAHLBERG, WOODRUFF, NIMMO & SLOANE, LLP, hereby files
  their Complaint and Jury Demand, and demand a jury trial of the following claims for relief and
  state, aver, and allege as follows:

                                   GENERAL ALLEGATIONS

  1.      This Complaint arises out of a Motor Vehicle Collision that occurred on August 19, 2017
          in Park County, Colorado involving vehicles driven by Plaintiff Lisa Buechler, Defendant
          Alana Marie Ortiz and Randall Miller ("Motor Vehicle Collision").

  2.      At the time of the Motor Vehicle Collision and currently, Lisa Buechler ("Plaintiff Lisa
          Buechler") and Michael Mulligan ("Plaintiff Mulligan") or (Plaintiffs"), were and are
          husband and wife.

  3.      Plaintiffs are currently Colorado residents residing in Golden, Jefferson County, Colorado.

  4.      Upon information and belief and at all times material hereto, Defendant Alana Marie Ortiz
          ("Defendant Ortiz") was an Alaskan resident residing in Anchorage, Alaska.

  5.     Upon information and belief and at all times material hereto, Defendant Ortiz was an
         employee of Quik Travel Staffing, Inc. ("Defendant Quik Travel Staffing").
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  6.    Defendant Quik Travel Staffing is a California corporation with a mailing address of 141
        West Bonita Avenue, Sierra Madre, California 91024 and that conducts business in the
        State of Colorado.

  7.    Defendant Quik Travel Staffing provides healthcare professionals on a part-time or full-
        time basis to healthcare facility clients nationwide.

  8.    Defendant Quik Travel Staffing represents that it provides highly qualified professionals
        to its healthcare facility clients.

  9.    Defendant Quik Travel Staffing can be served with process through its registered agent for
        service, Stefan Windheuser, 141 W. Bonita Ave., Sierra Madre, CA 91024.

  10.   At the time of the Motor Vehicle Collision, Defendant Ortiz was driving a black 2017
        Cadillac XTS.

  11.   Upon information and belief, Defendant Ortiz had rented the 2017 Cadillac XTS from
        Enterprise Rent-A-Car.

  12.   Upon information and belief, Defendant Ortiz had rented the 2017 Cadillac XTS from
        Enterprise Rent-A-Car through a business rental program or business account.

  13.   Upon information and belief, the business rental account was between Enterprise Rent-A-
        Car and Defendant Quik Travel Staffing.

  14.   Upon information and belief, Defendant Quik Travel Staffing had authorized Defendant
        Ortiz to rent a vehicle using its business rental account with Enterprise Rent-A-Car for the
        work in Colorado.

  15.   Upon information and belief, at all times material hereto, Defendant Tyrie Anthony Brown
        ("Defendant Brown") was a South Carolina resident, residing at 1788 Ebenezer Road,
        Apartment C, Rock Hill, SC 29732.

  16.   At the time of the Motor Vehicle Collision, Defendant Brown was driving a black Audi,
        which had South Carolina license plate NHP927.

                                JURISDICTION AND VENUE

  17.   The Motor Vehicle Collision occurred on August 19, 2017 in the County of Park, State of
        Colorado.

  18.   Jurisdiction and venue are proper in this Court because the Motor Vehicle Collision herein
        described occurred in Colorado, Plaintiffs reside in Colorado and the Defendants all reside
        outside of Colorado: Defendant Ortiz lives in Alaska, Defendant Brown lives in South

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        Carolina and Defendant Quik Travel Staffing is a California corporation with a mailing
        address in California.

  19.   This is an action between citizens in different states and the amount in controversy exceeds
        $75,000.00 dollars exclusive of costs and interest, therefore this Court has jurisdiction
        under 28 U.S.C. § 1332.

  20.   The events or omissions giving rise to this claim occurred in the District of Colorado,
        therefore venue is proper under 28 U.S.C. § 1391(b)(2).

                                 FACTS AND ALLEGATIONS

  21.   On or about August 19, 2017, at approximately 1:27:00 p.m., Plaintiff Lisa Buechler was
        driving a Toyota Camry, traveling southbound on Colorado 285, near milepost 165.

  22.   On or about August 19, 2017, at approximately 1:27:00 p.m., Defendant Ortiz was driving
        a black 2017 Cadillac XTS traveling northbound on Colorado 285, near milepost 165.

  23.   At the time of the Motor Vehicle Collision, Defendant Ortiz was traveling northbound in
        the southbound lane of Highway 285 attempting to pass a blue vehicle that was traveling
        northbound when her vehicle collided head on with Plaintiff Lisa Buechler's vehicle.

  24.   Just prior to the Motor Vehicle Collision, Defendant Ortiz was attempting to keep up with
        the black Audi being driven by Defendant Brown.

  25.   On or about August 19, 2017, at approximately 1:27:00 p.m., Randall Miller was driving
        a 2014 Honda CR-V traveling southbound on Colorado 285, near milepost 165.

  26.   Randall Miller was traveling at approximately the posted speed limit of 65 miles per hour
        behind Plaintiff Buechler's vehicle.

  27.   When Defendant Ortiz' Cadillac collided head on into Plaintiff Lisa Buechler's Toyota,
        Randall Miller was unable to stop in time and his vehicle struck Plaintiff Lisa Buechler's
        vehicle.

  28.   Randall Miller was not negligent and did not cause the Motor Vehicle Collision.

  29.   In the 30 miles prior to the Motor Vehicle Collision, Defendant Ortiz and Defendant Brown
        had been driving at speeds in excess of the posted speed limit.

  30.   In the 30 miles prior to the Motor Vehicle Collision, Defendant Ortiz and Defendant Brown
        were passing vehicles in no passing zones.



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  31.   Just prior to the Motor Vehicle Collision, Defendant Brown was traveling northbound in
        the southbound lane of Highway 285 and had passed a blue vehicle that was traveling
        northbound.

  32.   At the point of impact of the Motor Vehicle Collision, the posted speed limit was 65 miles
        per hour.

  33.   At the time of the Motor Vehicle Collision, Plaintiff Lisa Buechler was traveling at
        approximately 65 miles per hour in a posted 65 miles per hour zone.

  34.   At the time of the Motor Vehicle Collision, Defendant Ortiz was traveling in excess of 75
        miles per hour.

  35.   Just prior to the Motor Vehicle Collision, Plaintiff Lisa Buechler left 82.2 feet of skid marks
        prior to the impact.

  36.   Just prior to the Motor Vehicle Collision, Defendant Ortiz left no evidence of skid marks
        prior to the impact.

  37.   The Affidavit and Application for Arrest Warrant for Defendant Ortiz, attached as Exhibit
        A, is an accurate copy of the original.

  38.   Weather conditions were not a factor in causing or contributing to the Motor Vehicle
        Collision.

  39.   The mechanical condition of the motor vehicle driven by Defendant Ortiz was not a factor
        in causing or contributing to the Motor Vehicle Collision.

  40.   The mechanical condition of the motor vehicle driven by Defendant Brown was not a factor
        in causing or contributing to the Motor Vehicle Collision.

  41.   Defendant Ortiz was careless and negligent at the time of the collision and her negligence
        was a cause of the collision.

  42.   Pursuant to the doctrines of Employer/Employee and Respondeat Superior, Defendant
        Quik Travel Staffing is liable for the negligence of Defendant Ortiz.

  43.   Defendant Brown was careless and negligent at the time of the collision and his negligence
        was a cause of the collision.

  44.   Pursuant to the Joint Venture doctrine, Defendant Brown is liable for the negligence of
        Defendant Ortiz.



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  45.   Plaintiff Lisa Buechler was not comparatively negligent regarding the Motor Vehicle
        Collision.

  46.   Negligence of a third party over whom Defendant Ortiz had no control was not a factor in
        causing or contributing to the Motor Vehicle Collision in question.

  47.   Negligence of a third party over whom Defendant Brown had no control was not a factor
        in causing or contributing to the Motor Vehicle Collision in question.

  48.   At the time of the Motor Vehicle Collision, Defendant Ortiz was an employee of Defendant
        Quik Travel Staffing and was acting within the course and scope of her employment.

  49.   At the time of the Motor Vehicle Collision, Defendant Ortiz was acting pursuant to the
        authorization of her employer Defendant Quik Travel Staffing as to the manner of her
        actions while operating the 2017 Cadillac XTS.

  50.   Defendant Tyrie Brown was driving a black Audi, which was not damaged in the Motor
        Vehicle Collision but caused or contributed to causing the Motor Vehicle Collision.

  51.   The Motor Vehicle Collision caused Plaintiff Lisa Buechler physical and emotional injuries
        plus economic and other damages in an amount to be proven at trial.

  52.   The Motor Vehicle Collision caused Plaintiff Mulligan loss of consortium damages,
        emotional trauma and economic damages in an amount to be proven at trial.

                                     FIRST CLAIM FOR RELIEF
                             Negligence Against Defendant Alana Marie Ortiz

  53.   Plaintiffs incorporate all other paragraphs as though fully set forth herein.

  54.   At the time of the Motor Vehicle Collision, Defendant Ortiz owed a duty to Plaintiffs to
        operate her vehicle in a safe and prudent manner.

  55.   Defendant Ortiz breached the duty to operate her vehicle in a safe and prudent manner.

  56.   At the time of the Motor Vehicle Collision, Defendant Ortiz was traveling northbound in
        the southbound lane of Highway 285 attempting to pass a blue vehicle that was traveling
        northbound when her vehicle collided head on with Plaintiff Lisa Buechler's vehicle.

  57.   Prior to attempting to pass the blue vehicle, Defendant Ortiz failed to keep a proper lookout
        for vehicles traveling southbound in the southbound lane of Highway 285.

  58.   At the time of the Motor Vehicle Collision, Plaintiff Lisa Buechler was traveling
        southbound in the southbound lane of Highway 285.

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  59.   At the time of the Motor Vehicle Collision, Defendant Ortiz did not return to the
        northbound lane of Highway 285 before colliding head on with Plaintiff Lisa Buechler's
        vehicle.

  60.   At the time of the Motor Vehicle Collision, Defendant Ortiz was traveling at or in excess
        of 75 miles per hour in a posted 65 miles per hour zone.

  61.   At the time of the Motor Vehicle Collision, Defendant Ortiz was careless and negligent in
        traveling northbound in the southbound lane of Highway 285 and careless and negligent in
        failing to return to the northbound lane prior to the Motor Vehicle Collision.

  62.   As a direct and proximate result of the breach of duties of care owed by Defendant Ortiz
        to the Plaintiffs, the Plaintiffs have suffered injuries, damages and losses in an amount to
        be proven at trial.

                                  SECOND CLAIM FOR RELIEF
              Negligence Against Defendant Quik Travel Staffing, Inc. — Vicarious Liability

  63.   Plaintiffs incorporate all other paragraphs as though fully set forth herein.

  64.   At the time of the Motor Vehicle Collision, Defendant Ortiz was an employee of Defendant
        Quik Travel Staffing.

  65.   At the time of the Motor Vehicle Collision, Defendant Ortiz was in Colorado at the request
        and direction of Defendant Quik Travel Staffing.

  66.   At the time of the Motor Vehicle Collision, Defendant Quik Travel Staffing had placed
        Defendant Ortiz in a job with Dialysis Clinic, Inc. in Montrose, Colorado.

  67.   Defendant Ortiz was acting within the scope of her employment with Defendant Quik
        Travel Staffing when she came to Colorado to work for the Dialysis Clinic, Inc. in
        Montrose, Colorado.

  68.   At the time of the Motor Vehicle Collision, Defendant Ortiz owed a duty to the Plaintiffs
        to operate her vehicle in a safe and prudent manner.

  69.   Defendant Ortiz breached the duty to operate her vehicle in a safe and prudent manner.

  70.   As a direct and proximate result of the breach of duty of care by Defendant Quik Travel
        Staffing's employee, Defendant Ortiz, Plaintiffs suffered injuries, damages and losses in
        an amount to be proven at trial.



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  71.   Pursuant to the doctrines of Employer/Employee and Respondeat Superior, Defendant
        Quik Travel Staffing is responsible for the acts or omissions of Defendant Ortiz.

  72.   The acts or omissions of Defendant Quik Travel Staffing's employee, Defendant Ortiz,
        while acting within the course and scope of her employment are the direct and proximate
        result of Plaintiffs' injuries, damages and losses. in an amount to be proven at trial.

                                   THIRD CLAIM FOR RELIEF
                   Negligent Entrustment Against Defendant Quik Travel Staffing, Inc.

  73.   Plaintiffs incorporate all other paragraphs as though fully set forth herein.

  74.   At the time of the Motor Vehicle Collision, Defendant Ortiz was an employee of Defendant
        Quik Travel Staffing.

  75.   At the time of the Motor Vehicle Collision, Defendant Ortiz was in Colorado because
        Defendant Quik Travel Staffing had placed her in a job with Dialysis Clinic, Inc. in
        Montrose, Colorado.

  76.   Defendant Ortiz was acting within the scope of her employment with Defendant Quik
        Travel Staffing when she came to Colorado to work for the Dialysis Clinic, Inc. in
        Montrose, Colorado.

  77.   At the time of the Motor Vehicle Collision, Defendant Ortiz was driving a black 2017
        Cadillac XTS, which had been rented from Enterprise Rent-A-Car through Defendant Quik
        Travel Staffing's business rental account.

  78.   Defendant Quik Travel Staffing had authorized Defendant Ortiz to rent a vehicle using its
        business rental account with Enterprise Rent-A-Car.

  79.   Defendant Ortiz was acting within the scope of her employment with Defendant Quik
        Travel Staffing when she rented the 2017 Cadillac using the corporate account of
        Defendant Quik Travel Staffing.

  80.   Quik Travel Staffing knew or should have known that Defendant Ortiz would be driving
        this rental vehicle while she was in Colorado working at the Dialysis Clinic, Inc.

  81.   Defendant Quik Travel Staffing was negligent in authorizing Defendant Ortiz to rent a
        motor vehicle under its corporate account given her past driving history.

  82.   In the ten (10) years prior to the Motor Vehicle Collision and prior to Defendant Quik
        Travel Staffing authorizing Defendant Ortiz to rent a motor vehicle under its corporate
        account for the work in Colorado, Defendant Ortiz had received numerous tickets for
        various traffic violations, including multiple tickets for speeding.

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  83.   Defendant Quik Travel Staffing had a duty to investigate Defendant Ortiz' driving history
        before authorizing Defendant Ortiz to rent a motor vehicle under its corporate account.

  84.   Whether to allow Defendant Ortiz to rent a vehicle under its corporate account was within
        the control of Defendant Quik Travel Staffing.

  85.   Defendant Quik Travel Staffing knew or should have known that Defendant Ortiz was
        likely to use a motor vehicle in such a manner as to create an undue risk of harm to the
        public.

  86.   As a direct and proximate result of the breach of duties of care owed by Defendant Quik
        Travel Staffing to the Plaintiffs, the Plaintiffs have suffered injuries, damages and losses
        in an amount to be proven at trial.

                                   FOURTH CLAIM FOR RELIEF
                                Negligence Against Defendant Tyrie Brown

  87.   Plaintiffs incorporate all other paragraphs as though fully set forth herein.

  88.   At the time of the Motor Vehicle Collision, Defendant Brown was driving a black Audi,
        which had South Carolina license plate NHP927.

  89.   At the time of the Motor Vehicle Collision, Defendant Brown owed a duty to the Plaintiffs
        to operate his vehicle in a safe and prudent manner.

  90.   Defendant Brown breached the duty to operate his vehicle in a safe and prudent manner.

  91.   In the 30 miles prior to the Motor Vehicle Collision, Defendant Ortiz and Defendant Brown
        had been driving at speeds in excess of the posted speed limit.

  92.   In the 30 miles prior to the Motor Vehicle Collision, Defendant Ortiz and Defendant Brown
        were passing vehicles in no passing zones.

  93.   Just prior to the Motor Vehicle Collision, Defendant Brown was traveling northbound in
        the southbound lane of Highway 285 and had passed a blue vehicle that was traveling
        northbound.

  94.   Just prior to the Motor Vehicle Collision, Defendant Ortiz was following the black Audi
        being driven by Defendant Brown.

  95.   At the time of the Motor Vehicle Collision, Defendant Ortiz was traveling northbound in
        the southbound lane of Highway 285 attempting to pass a blue vehicle that was traveling
        northbound when her vehicle collided head on with Plaintiff Lisa Buechler's vehicle.

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  96.    Prior to attempting to pass the blue vehicle, Defendant Brown failed to keep a proper
         lookout for vehicles traveling southbound in the southbound lane of Highway 285.

  97.    Just prior to the Motor Vehicle Collision, Defendant Brown was careless and negligent in
         traveling northbound in the southbound lane of Highway 285.

  98.    At the time of the Motor Vehicle Collision, Defendant Ortiz and Defendant Brown were
         engaged in a joint venture and therefore Defendant Brown is vicariously liable for the acts
         or omissions of Defendant Ortiz.

  99.    As a direct and proximate result of the breach of duties of care owed by Defendant Brown
         to the Plaintiffs, the Plaintiffs have suffered injuries, damages and losses in an amount to
         be proven at trial.

                                     FIFTH CLAIM FOR RELIEF
                          Negligence per se Against Defendant Alana Marie Ortiz

  100.   Plaintiffs incorporate all other paragraphs as though fully set forth herein.

  101.   At the time of the Motor Vehicle Collision, there existed laws, statutes, ordinances and
         regulations for the safety and protections of motorists in the State of Colorado.

  102.   At the time of the Motor Vehicle Collision, the State of Colorado had statutes, ordinances,
         and codes to regulate traffic including but not limited to: Careless Driving (C.R.S. §42-4-
         1402), Reckless Driving (C.R.S. §42-4-1401), Speeding (C.R.S. §42-4-1101), Passing in
         No Passing Zone (C.R.S. §42-4-1005), Vehicular Assault — Operated a Motor Vehicle in a
         Reckless Manner, causing serious bodily injury to another person (C.R.S. §18-3-205(1)(a).

  103.   At the time of the Motor Vehicle Collision, Defendants Ortiz violated traffic codes
         including careless driving, excessive speed, passing in no passing lanes and driving into
         oncoming traffic.

  104.   Defendant Ortiz's violations of these traffic codes constitute negligence per se.

  105.   Plaintiffs are a member of the class that the statutes, ordinances, and codes are intended to
         protect.

  106.   As a direct and proximate cause of Defendant Ortiz's negligence per se, the Plaintiffs have
         suffered injuries, damages and losses in an amount to be proven at trial

         WHEREFORE, Plaintiffs pray for relief as set for the below.



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                                   SIXTH CLAIM FOR RELIEF
                              Loss of Consortium Against all Defendants

   107.   Plaintiffs incorporate all other paragraphs as though fully set forth herein.

   108.   The Defendants were negligent as set forth above.

   109.   Plaintiff Lisa Buechler was injured as a result of the Defendants' negligence, as set forth
          above.

   110.   Plaintiff Michael Mulligan was and is the spouse of Plaintiff Lisa Buechler.

   111.   As a result of the injuries sustained by Plaintiff Lisa Buechler, Plaintiff Michael Mulligan
          has sustained damages and losses, including loss of consortium and economic damages for
          medical care and treatment, having to provide nursing care and other services, as well as
          essential home services, activities of daily living and personal hygiene care and dressing
          that his wife could not perform and can no longer perform.

          WHEREFORE, Plaintiffs pray for relief as set for the below.

                                                  DAMAGES

   112.   Plaintiffs incorporate by reference all preceding paragraphs as fully set forth herein.

   113.   As a direct and proximate result of the Defendants' negligence and/or other wrongful
          conduct, Plaintiff Lisa Buechler has suffered physical injuries, including but not limited to
          a head injury, neurologic injury, orthopedic injuries and other injuries, at a value to be
          determined by the jury in this case.

   114.   As a direct and proximate result of the Defendants' negligence and/or other wrongful
          conduct, Plaintiff Lisa Buechler suffered physical injuries, including but not limited to
          physical impairment, physical disfigurement and other related damages, at a value to be
          determined by the jury in this case.

   115.   As a direct and proximate result of the Defendants' negligence and/or other wrongful
          conduct, Plaintiff Lisa Buechler has and will continue to endure emotional injuries,
          including pain and suffering, emotional distress, loss of enjoyment of life and other related
          injuries, all at a value to be determined by the jury in this case.

   116.   As a direct and proximate result of the Defendants' negligence and/or other wrongful
          conduct, Plaintiff Lisa Buechler suffered economic damages including medical bills, out-
          of-pocket expenses plus lost earnings past and future among other economic damages, at a
          value to be determined by the jury in this case.


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   117. As a direct and proximate result of the Defendants' negligence and/or other wrongful
         conduct, Plaintiff Mulligan suffered loss of consortium damages, emotional trauma and
         economic damages, all at a value to be determined by the jury in this case.

                                           PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully request that judgment be entered in favor of
   Plaintiffs and against Defendants in an amount to fairly compensate them for the injuries, court
   costs, expert witness fees and other costs, interest as allowed Colorado law and for such other and
   further relief as this Court deems just and proper including the following:

          A.      Award Plaintiffs damages for an amount which will fairly and adequately
                  compensate Plaintiffs for the injuries and damages arising out of this Motor Vehicle
                  Collision, including past, present and future non-economic damages, medical
                  expenses, past and future; permanent limitations, injuries, and/or physical
                  impairment and disfigurement; limitations and/or disabilities of the body and/or
                  mind; past and future pain and suffering; loss of enjoyment of life and/or the
                  capacity of life; lost past and future earnings, interest as provided by statute; plus

          B.      grant Plaintiffs such other and further relief as this Court deems necessary and
                  proper, including interest, costs and attorney's fees, plus

          C.      make such judgment joint and several among the Defendants.

               PLAINTIFFS RESPECTFULLY DEMAND A TRIAL TO A JURY


          DATED: March 13, 2018

                                         Respec fully submitted,

                                                  ERG,         DRUFF, NIMMO & SLOANE, LLP




   Plaintiffs' Address:
   2729 Lookout View
   Golden, CO 80401
                                1          -nnis W. Brown, Colo. #11163
                                           torney for Plaintiffs




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                        IDAVFI ,*1 ND APPLICATION OF ARREST WARRANT

       Ihe following affidavit is submitted to the District Court, Park County, State or
      ('olor ado. to document the probable cause in support of the ArtitiVilt
                                                                                            Fin                       ;
       \LANA m \Rit, own/.
      11).0.I3. ic-13-19m,
           Fen ale.      140. Black Hair, Brown Eyes
                                                                                                 -It.ii.3r2C!!.;
      3417 Richmond Ave. Anchorage, AK 99508
                                                                                             FMK CUMIN. CL,,LTiAL..

          :ifeikses are fully ,Joeumented in Colorado State Patrol Case Report number 2A I 71131.
      detailing itic oftense(s) of:

      1-1'.05 (1)(a) Vehicular Assault - Operated a Motor Vehicle in a Reckless Manner which
      wits the Proximate Cause of Serious Bodily Injury to Another Person.

         roopei Brian Tillery.. the aniant, hereby swear or affirm that I am a Colorado officer
              ck, as a I rooper for the Colorado State Patrol. assigned to Troop 2A. 1 make this
     application and affidavit for an arrest warrant pursuant to Crim.P. 41 and C.R.S. 16-3-301 et
     Noti.. and swear t'f affirm this application and affidavit in support of the issuance of an arrest




     Your atti:int is employed      a Trooper with the Colorado State Patrol from 2013 to present.
     ycaa• ;; lint has completed 1033_5 hours ()Ito Colorado State Patrol Academy. 'Your afliant is
     it  a I C\ el ll clash investigator.




                                                        4 Vehicle crash on Colorado 285 near milepost 165.
            - • Li 7 at 1334 hours. I was notified of a :
      When            cd on seem: at 1.206 hours. I observed a gold Tovota Carmy with Ci go; ado license
     plate \fl$SXN lvith heavy front end damage facing southeast in the middle of the roadway.
     There w a'- a black Cadillac \TS with Florida License plate 624YSH on its roof about 30 feet off
           w.:st side. of the highwi* winch had rolled and had hetiv.v front end damage. There was also
     ti 'irak           CRV with Colorado license plate 561Q013 about two feet oft the west side of the
     road %till damage to its left front. There were large gouges in the blacktop at the first area o
     nap-, t r         and vehicle debris scattered north and south of the A01. Additionally. there w ere
     skid tn.aks from rlae Toyota Caftan• and the Honda CRY tip to both A01's.

     '1 tic Toy ota Camry 's driver was identified as Lisa Ann Buechler (DOB Y-29.61). The Cadillac
     N't S       ilriven     \land Marie Ortiz (DOlt 13-S6f. '1 he Honda CR‘ was drit en 11) Randall
     Miller (DOD 4-20-8It Buechler and Ortiz were both being treated by medical personnel arid
     yk ere ..kk       helicopter transport to St. Anthony's Hospital in Lakewood, Colorado. The
     injuries appeared to be serious hut it was unknown to that extent I inter\ icwed ttitncsscs.
     spoke to the driver's, took photographs, and completed a field sketch of the scene. Sgt. Schwarz
     arrived on scene and also spoke to the drivers. took photographs and oompleted paperwork for
     the tow

     11,,t,,Cii 0» illy ill1t'Sligation I determined that the black Cadillac and was northbound on Colorado
              "IL gold 10yota ("army and the gray Honda CRY' kvere both southbound on Colorado 2x5
     near milepost 165. l'he Cadillac was passing a northbound non-contact vehicle on the left and



                                                     EXHIBIT A
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      was in the southbound lane. The Toyota began braking and was hit head on by the Cadillac in
      the southbound lane. There were no signs of braking from the Cadillac. The Toyota rotated
      clockwise and came 10 rest at the area of impact. The Honda was unable to stop in time and
      collided its front left with the front right of the Toyota. The Cadillac went airborne from the area
      of impact and traveled off the west side of the road where it returned to the ground and
      overturned to rest. The Cadillac came to rest on its roof .facing east. The Toyota came to rest on
      its wheels in the northbound lane facing southeast. The Honda came to rest on its wheels on the
      southbound shoulder facing south.

      Witnesses oil scene reported that there was a black Audi and a black Cadillac driving at
      excessive speeds and passing in no passing zones with oncoming, traffic. These reports extended
      all the     back to Colorado 285 in the vicinity of milepost 136 where the two vehicles ran a
      northbound non-contact vehicle off the road at the end of the passing lane. Some of the
      witnesses pointed to the crashed black Cadillac and the black Audi which was parked on scene
      and identified them as the two vehicles which were dri\ ing recklessly. The black Audi had
      South Carolina license plate NHP927 and was driven by Tyrie Brown (DOB 10/08/87). Tyrie
      Brown a as the boyfriend to Alana Ortiz who was driving the black Cadillac,

      On 8-20-17 Doctor Andreae Hennig explained Ms. Buechler's injuries as an; unstable thoracic
      spine fracture, multiple rib fractures, right femoral head fracture, and left distal fibula fracture.
      In the doctors opinion these injuries were serious bodily injury and is documented on CSP 815
      (Colorado State Patrol Physician's Report of Serious Bodily Injury),

      Driver Statements:

      Alana Ortiz (Driver I , Cadillac XIS): I was trying to switch lanes to pass. as follow ing the
      black Audi headed to Denver, coining from Montrose. I was passing a blue car at about 75 mph
      during the pass when we hit head on. "This shouldn't have happened."

     Lisa Buechler (Driver 2, Toyota Camry): Ms. Buechler was intubated and unable to give a
     statement.

     Rand..'.: Miller (Driver 3, lion& CRV): While driving south, a black Cadillac came across the
     center line and hit the gold Toyota. While trying to turn out of the way I hit the gold Toyota.

     Witness Statements:

     Josh Richmond: A black. Audi and black Cadillac ran another northbound vehicle onto the
     shoulder of the road as they passed it after the passing zone ended on Colorado 285 near
     milepost 136 at 1255 hours.

     Jared Sinclair: The two black cars passed at about 80 miles an hour on Trout Creek Pass with
     oncoming traffic. There was a passing lane two miles ahead that they didn't wait for.

     Kristopher Cavanaugh: We were passed by a black Audi, black Cadillac, and red Cadillac at a
     high rate of speed on Trout Creek Pass in a no passing zone at very unsafe passing locations. We
     then rolled up on the crash scene involving two of the passing vehicles. The red Cadillac turned
     around and drove in the opposite direction and was operated by an older male with an older
     female passenger.

     Sandy Sheppard: We were passed by a car with out of stale plates going very fast. Moments
     later we x% the black car rolling off the road two cars in front of us.
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      i cr               Saw the Cadillacin the air. Iran down and checked on the drew er who
        •           le CA ll.ic on ;1Cf ov-t-.. I he driver of the black Audi ran to
      he to the bhck .‘tli. She kept repealing "my god this can't hale happened-. She stated she
               dr,          a lath rate ":S;peett trti ing to keep tip ,,vith her friend in

          ▪    r        iker: We were northlocnInd cin highway '285 imd were passed by black Audi .11
                   S 1 "Trh


      ahoia SO-k+itawb. A black CadillaL- then flew h a_ about the same speed on a double yell,m• and
      alin.L.,•-1 „lipped tam. 1 had to go into the ditch. Ti1C \ then passed a Toyota truck over.4 d011b!t.
      Vt.'Ilov, at ,bout 90-100 mph and disappeared. Moments later we rolled up on the accident
      in-. ob. in: the nasin!..! %ehielcs.

               Wirr: (P!"E.-.-1!,:t.'r oflloncl.i (-RV in- olc ed t: We wt couthbouni I on highway2 f      1
        ki,lek           cii.u,sed the center line and struck the li.Lold 'Toyota.   swerved to mis• but hit
      :he :70'd ovotii

                       a: 1 pitssad a rnidniht Hue Ford Focus on the left side. ! looked in ri-* mini arid
              this h..A1 on            .Adanna v. as driving the Cadillac: and was follocvinl.!
                                                                                             . mc. She Math: the
                     behind mc. there weren't any ears on the left and I don- 1 know what happened.

               neck:             Audi and black Cadillac passed me on a double yellow line while 1 was
      (loin 6'5 r !ph at the highw.av 24 2S5 junction headed northbound. 1       were ;.ailgatirT and
                for about 3-5 minutes prior to attempting to pass_ I cstimateda the pa-;s at 00 mph.

      1'n,,ttow1p1eting my incestigation, I determined the following.

         • :liana Altaic Ortiz was dri‘ing the black Cadillac X TS.
         •        and Mark 0-,i/ NE as dri-, ing in a reekr.e. manner. fol. at least 30 miles
         .0I tic reckless di•iving behavior was the cause of the crash.
         • 1.h-a Ant: BaLehlet v•ho vas JON            the To:kota t 'alai> did sustain s.tri las   iniuty
              ik -:%:ribect in CRS 18-1-901 (.3.1ipt and based on the opinion of Doctor Andrcaj f-lcrung on


              rc:-pecvallL iequest that probable cause he fund that Alana Marie Orli?. DOB: 0:!..11-
      9NO, did within the (bunts of Park and Stale of Colorado, commit. in violation of the Colorado
     Rec ;sod !,.;tiltinc.. the of Tenets of:

     18-3-205 t 1)(a) \alit:War Assault - Operated a Motor Vehicle in a Reeisless Manner hied
     vi as the PM:UM:AC `ause of Serious Bodily Null to Another Person.



                    t iv 24'1 2017                                                       f•

                       Dieu                                         --1
                                                                      -rooper Brian
                                                                      .o I o rado State Patrol




                                                                '            ary-Siznaturc
                                                                               .

                                                    My Commission expires:
